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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    NED SMOCK, Bar # 236238
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     ALEX S. BAKER
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. 2:06-cr-00494-MCE
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
13        v.                         )
                                     )
14   MARQUIS D. AIKENS,              )
     MARQUIS D. JACKSON,             )     Date: August 23, 2007
15   ALEX S. BAKER, and              )     Time: 9:00 A.M.
     BRANDON D. DEAN,                )     Judge: Hon. Morrison C. England
16                                   )
                    Defendants.      )
17   _______________________________ )
18
          IT IS HEREBY STIPULATED by and between the parties hereto through
19
     their respective counsel, JOHN VINCENT, Assistant United States
20
     Attorney, attorney for Plaintiff; NED SMOCK, attorney for defendant
21
     Alex S. Baker; MICHAEL BIGELOW, attorney for defendant Marquis D.
22
     Aikens; TIMOTHY WARRINER, attorney for defendant Marquis D. Jackson;
23
     and C. EMMETT MAHLE, attorney for defendant Brandon D. Dean that the
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     current Status Conference date of July 19, 2007 be vacated and a new
25
     date of August 23, 2007 be set for status.       The defense seeks
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     additional time to review discovery and perform ongoing investigation.
27
     The government has no objection.
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              Case 2:06-cr-00494-MCE Document 43 Filed 07/20/07 Page 2 of 3


1          It is further stipulated and agreed between the parties that the
2    period between July 19, 2007 and August 23, 2007, should be excluded in
3    computing the time within which the trial of the above criminal
4    prosecution must commence for purposes of the Speedy Trial Act for
5    defense preparation.       All parties stipulate and agree that this is an
6    appropriate exclusion of time within the meaning of Title 18, United
7    States Code, Section 3161(h)(8)(iv) (Local Code T4).
8    Dated: July 18, 2007
                                               Respectfully submitted,
9
                                               DANIEL J. BRODERICK
10                                             Federal Defender
11
                                                    /s/ Ned Smock
12                                             NED SMOCK
                                               Assistant Federal Defender
13                                             Attorney for Defendant
                                               ALEX S. BAKER
14
15   Dated:    July 18, 2007                   /s/ Ned Smock for Michael Bigelow
                                               MICHAEL BIGELOW
16                                             Attorney for Defendant
                                               MARQUIS D. AIKENS
17
     Dated:    July 18, 2007                   /s/ Ned Smock for Timothy Warriner
18                                             TIMOTHY WARRINER
                                               Attorney for Defendant
19                                             MARQUIS D. JACKSON
20   Dated:    July 18, 2007                   /s/ Ned Smock for C. Emmett Mahle
                                               C. EMMETT MAHLE
21                                             Attorney for Defendant
                                               BRANDON D. DEAN
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     Stipulation & Order                       2
              Case 2:06-cr-00494-MCE Document 43 Filed 07/20/07 Page 3 of 3


1                                              MCGREGOR W. SCOTT
                                               United States Attorney
2
     Dated:    July 18, 2007
3                                              /s/ Ned Smock for John Vincent
                                               JOHN VINCENT
4                                              Assistant U.S. Attorney
5
6
                                             ORDER
7
     IT IS SO ORDERED.
8
9     Dated: July 20, 2007

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                                             _____________________________
11                                           MORRISON C. ENGLAND, JR.
12                                           UNITED STATES DISTRICT JUDGE

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     Stipulation & Order                       3
